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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    CENTRAL DIVISION

UNITED STATES OF AMERICA                                      PLAINTIFF

v.                       No. 4:20-cr-288-DPM

MUJERA BENJAMIN LUNGAHO                                    DEFENDANT

                                ORDER
     The United States' unopposed motion to amend the superseding
indictment is granted.    The defendant's name is Mujera Benjamin
Lung' aho. The Court directs the Clerk to update the docket.
     So Ordered.


                                  D .P. Marshall Jr.
                                  United States District Judge
